Case 8:21-bk-11710-ES   Doc 147-1 Filed 07/22/22 Entered 07/22/22 16:31:19   Desc
                               Part 2 Page 1 of 11




                                                                             1
Case 8:21-bk-11710-ES   Doc 147-1 Filed 07/22/22 Entered 07/22/22 16:31:19   Desc
                               Part 2 Page 2 of 11




                                                                             2
Case 8:21-bk-11710-ES   Doc 147-1 Filed 07/22/22 Entered 07/22/22 16:31:19   Desc
                               Part 2 Page 3 of 11




                                                                             3
Case 8:21-bk-11710-ES   Doc 147-1 Filed 07/22/22 Entered 07/22/22 16:31:19   Desc
                               Part 2 Page 4 of 11




                                                                             4
Case 8:21-bk-11710-ES   Doc 147-1 Filed 07/22/22 Entered 07/22/22 16:31:19   Desc
                               Part 2 Page 5 of 11




                                                                             5
Case 8:21-bk-11710-ES   Doc 147-1 Filed 07/22/22 Entered 07/22/22 16:31:19   Desc
                               Part 2 Page 6 of 11




                                                                             6
Case 8:21-bk-11710-ES   Doc 147-1 Filed 07/22/22 Entered 07/22/22 16:31:19   Desc
                               Part 2 Page 7 of 11




                                                                             7
Case 8:21-bk-11710-ES   Doc 147-1 Filed 07/22/22 Entered 07/22/22 16:31:19   Desc
                               Part 2 Page 8 of 11




                                                                             8
Case 8:21-bk-11710-ES   Doc 147-1 Filed 07/22/22 Entered 07/22/22 16:31:19   Desc
                               Part 2 Page 9 of 11




                                                                             9
Case 8:21-bk-11710-ES   Doc 147-1 Filed 07/22/22 Entered 07/22/22 16:31:19    Desc
                              Part 2 Page 10 of 11




                                                                             10
Case 8:21-bk-11710-ES   Doc 147-1 Filed 07/22/22 Entered 07/22/22 16:31:19    Desc
                              Part 2 Page 11 of 11




                                                                             11
